                                       The application is GRANTED in part. Discovery will remain stayed while Plaintiffs
                                       pursue recovery in connection with the SEC-administered Fair Fund. Defendant
                                       Guo's motion to dismiss is DENIED without prejudice to renewal. The parties shall
                                       submit a joint status letter by December 13, 2021, and every sixty (60) days
                                       thereafter, advising the Court on the status of Plaintiffs' ability to recover in
Hon. Lorna G. Schofield                connection with the SEC-administered Fair Fund. The parties shall promptly
United States District Judge           advise the Court when it is determined that discovery can proceed or the case can
United States District Court           be dismissed.
Southern District of New York
500 Pearl Street              Dated: October 14, 2021
New York, NY 10007                   New York, New York

Re: Weiguo Sun, et al. v. GTV Media Group, Inc., et al., No. 1:21-cv-04529-LGS

Dear Judge Schofield:

       We represent Plaintiffs in the above-captioned action and write jointly with counsel for
Defendants GTV Media Group, Inc. (“GTV”), Saraca Media Group, Inc. (“Saraca”), and Wengui
Guo (“Guo”) (collectively, the “Represented Parties”). As stated in the Represented Parties’
September 27, 2021 joint letter (ECF No. 66), the Represented Parties have conferred regarding
the effect of the recent settlement with the Securities and Exchange Commission set forth in a
September 13, 2021 cease and desist order. See In the Matter of GTV Media Group, Inc., Saraca
Media Group, Inc., and Voice of Guo Media, Inc., 3-20537.

         Pursuant to the settlement, Defendants GTV, Saraca, and Voice of Guo Media, Inc.
(“VOG”) are required to pay to the SEC disgorgement, interest, and civil penalties in excess of
$500 million to settle regulatory claims in connection with two securities offerings, including the offering
at issue in this case. While GTV and Saraca do not admit to the SEC’s findings or to any liability in this
litigation, as part of the settlement agreement, they have agreed to return monies to investors through the
establishment of an SEC-administered Fair Fund. As a result of this settlement and the SEC’s
establishment of a Fair Fund, Plaintiffs may be able to recover, completely or partially, the money
that,      as     alleged       in     the   Complaint,       they      invested    in      the     offering.
See ECF No. 1.

        Presently, the Represented Parties do not know the status of the Fair Fund and the extent
to which Plaintiffs might recover. The Represented Parties have agreed that to avoid incurring
further costs in this litigation while Plaintiffs pursue their rights in the Fair Fund, a partial stay of
this action would be appropriate. The Represented Parties therefore request that the Court enter an
order staying this action as against Defendants GTV, Saraca, and Guo pending establishment and
distribution of the Fair Fund, including a stay of all discovery and proceedings related to Defendant
Guo’s partial motion to dismiss.



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Hon. Lorna G. Schofield
October 8, 2021
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        Plaintiffs submit that Plaintiffs’ motion for default judgment against Defendants VOG and
Lihong Wei Lafrenz and any subsequent related proceedings should not be included in the stay, as
the default motion has been fully briefed and submitted and is scheduled to be heard on October
14, 2021. See ECF No. 63. Defendants GTV, Saraca, and Guo take no position on that issue.

Respectfully submitted,                          SCHULMAN BHATTACHARYA, LLC

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